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 8

 9                              UNITED STATES DISTRICT COURT
10                             NORTHERN DISTRICT OF CALIFORNIA
11                                 SAN FRANCISCO DIVISION
12

13 ELIAS KIFLE,                              )   CASE NO.: 3:21-cv-01752-CRB
                                             )
14                Plaintiff,                     REPLY MEMORANDUM OF LAW IN
                                             )
15                                           )   FURTHER SUPPORT OF DEFENDANT
           v.                                    YOUTUBE, LLC’S MOTION TO DISMISS
                                             )
16 YOUTUBE, LLC, et al.,                     )   PLAINTIFF’S FIFTH AMENDED
                                             )   COMPLAINT
17                Defendants.                )
                                             )
18                                               Date: May 13, 2022
                                             )
                                             )   Time: 10 a.m.
19
                                             )   Dept.: Courtroom 6, 17th Floor
20                                           )   Before: Hon. Charles R. Breyer
                                             )
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     REPLY ISO YOUTUBE’S MTD 5AC                                    CASE NO.: 3:21-CV-01752-CRB
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 1                                            INTRODUCTION

 2          Plaintiff’s sole remaining claim for contributory trademark infringement should be

 3 dismissed. Plaintiff still has not and cannot allege “(1) that YouTube had knowledge, or reason to

 4 know, that . . . specific users were in fact infringing [his] trademark; and (2) that YouTube continued

 5 to provide service to those specific users.” Order Dismissing 4AC (Dkt. 81) at 10 (emphasis in

 6 original). Plaintiff’s decision to continue relying on a single “notice” of trademark infringement—a

 7 notice this Court already found to be insufficient to establish YouTube’s knowledge (5AC Ex. 1

 8 (Dkt. 82-1); 4AC Ex. 2 (Dkt. 73-1))—is fatal to his claim.

 9          Plaintiff’s Opposition adds nothing but breathless rhetoric. See, e.g., Opp. (Dkt. 86) at 2. His

10 claims that YouTube has “deliberate involvement in . . . theft” and “purposefully ignored” his

11 trademark infringement notices are, once again, exceedingly vague and detached from any concrete

12 allegations in the complaint. Id. The tone of Plaintiff’s arguments has escalated, but the sufficiency

13 of his allegations has not.

14          Plaintiff’s brief is also notable for what it does not say. Plaintiff does not (and cannot) dispute

15 that his 5AC contains no new relevant allegations, that it recycles an old and insufficient trademark

16 infringement notice, and that it fails to cure any of the deficiencies the Court identified in dismissing

17 his 4AC. See Order Dismissing 4AC at 10 & n.3; MTD 5AC (Dkt. 85) at 8-10. Plaintiff also does

18 not dispute that the additional theories of liability mentioned in his 5AC are frivolous (see MTD

19 5AC at 10-11), or that he exceeded the scope of his leave to amend by again claiming infringement

20 of “Mereja TV” (see id. at 11-12). He concedes by silence that the 5AC omits key allegations from

21 the 4AC and does not plausibly allege that the Zemede Mark is protectable. See id. at 12-13.

22          Plaintiff has failed in each of his six opportunities to state a viable claim against YouTube.

23 The Court should dismiss this case with prejudice.

24      A. Plaintiff has not Alleged Contributory Trademark Infringement.

25          Plaintiff’s remaining claim is for contributory trademark infringement of the descriptive title

26 of an Amharic-language news show: “ነጭ ነጯን ከዘመዴ ጋር” (the “Zemede Mark”). MTD 5AC at 5

27 (citing Order Dismissing 4AC at 8). The Court has dismissed this claim twice before, because

28 Plaintiff has repeatedly failed to allege that YouTube “(1) intentionally induced the primary


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 1 infringer to infringe, or (2) continued to supply an infringing product to an infringer with knowledge

 2 that the infringer is mislabeling the particular product supplied.” Order Dismissing 4AC at 8; Order

 3 Dismissing 3AC (Dkt. 71) at 14 (both quoting Perfect 10, Inc. v. Visa Int’l Serv. Ass’n, 494 F.3d

 4 788, 807 (9th Cir. 2007)).

 5          Plaintiff does not even attempt to plead or argue for an inducement theory. See Order

 6 Dismissing 4AC at 9; Order Dismissing 3AC at 14. He attempts to allege the second prong, but still

 7 falls short. The Court specifically instructed Plaintiff to support his claim with new alleged facts

 8 pointing to YouTube’s knowledge of new infringements, rather than the old infringements Plaintiff

 9 recycled from the last two iterations of his complaint. See Order Dismissing 4AC at 10 n.3.

10          He has not done so. Instead, Plaintiff’s 5AC relies on the same cease-and-desist notice the

11 Court already rejected. Opp. at 2; compare 5AC Ex. 1 (Dkt. 82-1) with 4AC Ex. 2 (Dkt. 73-1).

12 Plaintiff’s notice neither reveals information about Plaintiff’s ownership of any protectable marks

13 nor identifies actual infringing videos bearing the Zemede Mark. Plaintiff again argues that his

14 trademark infringement notice was “valid,” and that “YouTube was given specific information about

15 the infringements that were taken [sic] place on its platform.” Opp. at 1-2. But again, the Court

16 already held that this is not the case, and the 5AC offers nothing to change that ruling.

17          The 5AC also fails to allege any new facts suggesting that “YouTube continued to provide

18 service to those specific channels he flagged in his most recent letter” such as by including “a date

19 and perhaps a screenshot.” Order Dismissing 4AC at 10 (emphasis in original). Plaintiff argues that

20 “YouTube has chosen to ignore the information and refused to remove the infringing content” (Opp.

21 at 2); but that argument, as before, is belied by the notice itself. The notice points to the same six1

22 YouTube channel URLs that the Court already examined in dismissing the 4AC. And Plaintiff does

23 not dispute that screenshots of each channel page show that YouTube disabled three of them, and

24 that the other three contain no infringing material. See Decl. of J. Mollick ISO YouTube’s MTD

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26   1
     The notice includes six links, but Plaintiff has consistently duplicated the one ending in “-
27 GwegKw”,    making it appear to be a list of seven. See Decl. of B. Margo ISO YouTube’s MTD 4AC
   (Dkt. 76-1) at 1 (analyzing the same notice Plaintiff included as Exhibit 2 to the 4AC and Exhibit 1
28 to the 5AC); see also Opp. at 3-4.



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 1 5AC (“Mollick Decl.”) (Dkt. 85-1); id. Exs. B (Dkt. 85-3) (channel terminated), C (Dkt. 85-4)

 2 (same), D (Dkt. 85-5) (same), E (Dkt. 85-6) (no infringing material), F (Dkt. 85-7) (same), and G

 3 (Dkt. 85-8) (same).

 4          Plaintiff points to a brand new link in his opposition brief that supposedly contains infringing

 5 material, but that does not save his claim. Opp. at 4. Plaintiff does not suggest that YouTube received

 6 notice of specific infringements on that linked channel, nor any explanation of what those

 7 infringements are. In any event, this URL is not alleged in the 5AC, and Plaintiff may not introduce

 8 new, unpleaded facts through his opposition. See, e.g., Schneider v. Cal. Dep’t of Corr., 151 F.3d

 9 1194, 1197 n. 1 (9th Cir. 1998); Solis v. City of Sunnyvale, 2020 U.S. Dist. LEXIS 235825, at *20-

10 21 (N.D. Cal. Dec. 14, 2020).

11          Nor does Plaintiff help himself by arguing that YouTube “deliberately ignored” his

12 trademark infringement notices and waited “several months” to remove allegedly infringing videos.

13 Opp. at 2-4. Even if Plaintiff had provided a sufficient takedown notice (which he did not), he has

14 alleged nothing to suggest that YouTube “deliberately ignored” it. Plaintiff also does not identify

15 any videos that YouTube purportedly waited “several months” to remove. To the contrary, the Court

16 already observed several months ago that the links Plaintiff cited did not contain any infringing

17 material at that time. Order Dismissing 4AC at 10. In sum, despite the Court’s request for more

18 specific factual allegations, Plaintiff offers nothing other than the same vague, unsubstantiated

19 allegations that have already been rejected multiple times.

20      B. Plaintiff’s Other Trademark Theories Remain Unexplained and may be Disregarded.

21          The Court again need not consider Plaintiff’s cursory references to other trademark theories.

22 See MTD 5AC at 10. Plaintiff does not dispute the point. He still has nothing to say about references

23 to vicarious trademark infringement, infringement of a “registered mark” under 15 U.S.C.

24 § 1114(a)(1), or false designation of origin. These theories should be disregarded.

25          Plaintiff appears to defend his threadbare claim of trademark dilution (5AC ¶¶ 38, 41) by

26 arguing that his “marks are not limited to a niche market” (Opp. at 3). As supposed evidence of

27 fame, he cites the “over 5 million followers” of two “Mereja TV” Facebook pages. Opp. at 3 & n.1.

28 Even if true, and even if Plaintiff had alleged that fact in his 5AC (which he did not), this does not



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 1 remotely suggest that the Zemede Mark is “widely recognized by the general consuming public of

 2 the United States.” 15 U.S.C. § 1125(c)(2)(A); see also Blumenthal Distrib., Inc. v. Herman Miller,

 3 Inc., 963 F.3d 859, 870 (9th Cir. 2020), cert. denied, 141 S. Ct. 1514 (2021) (trademark dilution law

 4 protects only marks that are household names).2 In citing “Mereja TV”-related Facebook pages,

 5 Plaintiff conflates “Mereja TV” with the Zemede Mark in an apparent effort to make the latter seem

 6 more well-known. See Opp. at 3. But only the Zemede Mark is at issue here, as the Court has already

 7 “conclude[d] that Kifle no longer plausibly alleged that ‘Mereja TV’ is a protected mark.” Order

 8 Dismissing 4AC at 8.

 9       C. Plaintiff Concedes that the 5AC does not Adequately Allege that the Zemede Mark is

10          Protectable.

11          The 5AC also fails to state a claim because it omits allegations from the 4AC that the Court

12 relied upon for its determination that Plaintiff alleged that the Zemede Mark is protectable. See MTD

13 5AC at 12-13. The 5AC omits any allegations of widespread use of “ነጭ ነጯን ከዘመዴ ጋር” that might

14 support a plausible inference that this unregistered, descriptive phrase has attained secondary

15 meaning in the United States. Plaintiff does not dispute any of this in his Opposition. To the contrary,

16 although the Court relied on his previous allegation of ongoing, frequent broadcasts to conclude that

17 the mark had acquired distinctiveness (Order Dismissing 4A at 3-4), Plaintiff now concedes in his

18 Opposition that he no longer broadcasts the show called “ነጭ ነጯን ከዘመዴ ጋር” “at least 4 times per

19 week,” 4AC ¶ 37, and that it is broadcast “only one day per week,” see Opp. at 5. Plaintiff’s

20 trademark claim fails on this ground as well.

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       While Plaintiff claims that his Facebook page has millions of followers, he does not specify
24   whether those followers are located in the United States, which is the relevant metric for evaluating
     a dilution claim. See Bentley v. NBC Universal, LLC, 2016 U.S. Dist. LEXIS 191368, at *10 (C.D.
25   Cal. Sept. 28, 2016). Plaintiff’s assertion also does not suggest that millions of Americans watch his
     “Mereja TV” channel, much less that they attribute secondary meaning to the Amharic-language
26   Zemede Mark. In fact, U.S. Census Bureau data indicates that fewer than 200,000 people speak
     Amharic at home in the United States. See U.S. Census Bureau (October 2015), Detailed Languages
27
     Spoken at Home and Ability to Speak English for the Population 5 Years and Over: 2009-2013,
28   retrieved from https://www.census.gov/data/tables/2013/demo/2009-2013-lang-tables.html.



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 1      D. Plaintiff’s Allegations as to “Mereja TV” Should be Struck from the 5AC.

 2          The Court already held that Plaintiff has not alleged that “Mereja TV” is a protectable mark,

 3 which Plaintiff does not dispute in his Opposition. See MTD 5AC at 11-12 (citing Order Dismissing

 4 4AC at 7-8). Because no leave to amend was granted as to that mark, Plaintiff’s allegations of

 5 infringement of the “Mereja TV” mark should be struck from the 5AC as “immaterial” for the sake

 6 of a clear appellate record. Fed. R. Civ. P. 12(f); see also MTD 5AC at 11 & n.5.

 7      E. Dismissal Should be with Prejudice.

 8          Dismissal with prejudice is proper and consistent with how courts in this District address

 9 plaintiffs who cannot state a claim despite several opportunities to do so. See, e.g., Solorio v. Loback,

10 2019 U.S. Dist. LEXIS 23718, at *8-10 (N.D. Cal. Feb. 13, 2019) (Breyer, J.). Plaintiff’s status as

11 a pro se litigant should no longer serve as a shield given his repeated refusal to follow the Court’s

12 clear instructions and allege sufficient facts. See Dios La Iglesia de Laities de Sacred Holy

13 Sacramento v. City of Sacramento, 1994 U.S. App. LEXIS 4456, at *6 (9th Cir. 1994) (affirming

14 dismissal where pro se litigant “failed, despite specific instructions and numerous opportunities to

15 amend, to allege facts sufficient to withstand defendants’ final motion to dismiss.”); Carter v.

16 Commissioner, 784 F.2d 1006, 1008 (9th Cir. 1986) (“Although pro se, he is expected to abide by

17 the rules of the court in which he litigates.”).

18                                             CONCLUSION

19          Plaintiff has repeatedly and consistently demonstrated that amendment will not improve his

20 claims. Any additional opportunity to amend would be futile. Dismissal of Plaintiff’s sole remaining

21 claim should be with prejudice.

22
                                           Respectfully submitted,
23
     Dated: May 5, 2022                    WILSON SONSINI GOODRICH & ROSATI
24                                         Professional Corporation
25                                              By: /s/ Lauren Gallo White
                                                Lauren Gallo White
26
                                           Attorneys for Defendant
27                                         YOUTUBE, LLC
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